                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA                        Criminal no. 09-173 (PAD)
   Plaintiff,
                 v.

 CARLOS TORRES PAGAN (35)



                                   Sentencing Memorandum

To the Honorable Court:

       Comes now Mr. Torres-Pagán, and respectfully states and prays as follows:

       Mr. Torres-Pagán files this Sentencing Memorandum on his behalf to assist the Court in

fashioning the appropriate disposition of his Revocation of his Supervised Release Proceeding

pursuant to Rule 32.1(b)(2) of the F.R. Crim. Proc., scheduled for July 28, 2021. (See Docket

#4305, #4318). Mr. Torres Pagán will not contest the allegations against him, and asks the Court

to revoke the supervised release term to the lower end of the recommended sentencing guidelines.

On January 31, 2012, Mr. Torres Pagán was sentenced to a term of 60 months of incarceration, to

be followed by a term of supervised release of 8 years, and a $100 mandatory fine. (See Docket

Entries #2612, #2616). On July 13, 2016, USPO notified the Court of Mr. Torres Pagan’s violation

of the conditions of his supervised term. (See Docket Entry #3749) The Court then decided to take

no further action pending the state preliminary hearing is addressed. (See Docket Entry #3786)
Based on an additional motion filed by USPO informing the Court of an additional violation, which

are the underlying facts of case number 18-432 (PAD), the Court issued an arrest warrant for Mr.

Torres Pagan. (See Docket Entry #3981). Mr. Torres Pagan has remained detained ever since. Mr.

Torres Pagan then pled guilty in case 18-432 PAD, and will be sentenced by this Court at the same

time as of this revocation proceeding.

Determination of the grade of the violation
       In accordance to U.S.S.G. § 7B.1.1, the Court must first determine the grade of the violation

of the conditions of supervised release. Accordingly, the United States Sentencing Guidelines

recognize that a violation be classified into one of the three grades of violations:
       (1) GRADE A VIOLATIONS — conduct constituting (A) a federal, state, or local
       offense punishable by a term of imprisonment exceeding one year that (i) is a
       crime of violence, (ii) is a controlled substance offense, or (iii) involves
       possession of a firearm or destructive device of a type described in 26 U.S.C. §
       5845(a); or (B) any other federal, state, or local offense punishable by a term of
       imprisonment exceeding twenty years;

       (2) GRADE B VIOLATIONS — conduct constituting any other federal, state, or local
       offense punishable by a term of imprisonment exceeding one year;

       (3) GRADE C VIOLATIONS — conduct constituting (A) a federal, state, or local
       offense punishable by a term of imprisonment of one year or less; or (B) a
       violation of any other condition of supervision.

       In case 18-432 (PAD), Mr. Torres-Pagan the parties submitted a Type C plea agreement

for consideration of this Court with a sentencing recommendation above the 12-month threshold

mentioned above. Additionally, Mr. Torres-Pagan was sentenced a state court proceeding to a

period of 5 years of incarceration for violations to the Puerto Rico Vehicles Act. Because both

convictions are above the 12-month threshold, the violations before this COurt are Grade A

violations under the sentencing guidelines.

       Guideline Range

       According to U.S.S.G. § 7B.1.4, in order to calculate the recommended guideline range,

the parties must use the original criminal history category from the underlying criminal

conviction. In accordance to the Pre-Sentence Report filed on January 11, 2012, (See Docket

Entry #2552, Par. 51) Mr. Torres-Pagán had a Criminal History Category of I. Therefore, the

correct guideline range for a Grade A violation with a Category History of I is 12-18 months of

incarceration.
        Additional Factors

       Mr. Torres-Pagán comes before this Court admitting the violations against him. As part

of the preparation of this case, the undersigned has contacted Mr. Torres-Pagán’s consensual

partner, Ms. Jennnifer Rivera, who provided the following information. She reports that Mr.

Torres Pagán lost his mother at a very young age, and that his father has been absent from his life

for a significant portion of his life. He also has no contact with any of his siblings, aunts, uncles

or any family member for that matter. As such, it is Ms. Rivera who has solely remained as Mr.

Torres-Pagán’s support throughout this process.

       Ms. Rivera informs that she and Mr. Torres-Pagán have been together for approximately

7 years. Although they have no children on their own, Mr. Torres-Pagán has taken the role of

father to Ms. Rivera’s child, Miguel, almost immediately. In this role, Jennifer describes him as

an excellent father figure, attentive, and very supportive. She recalls fondly the many occasions

that the two of them, Miguel and Carlos, competed against one another in various video games.

She described him as introspective, quiet, reserved, and very pensive. She also highlighted

Carlos’ willingness to provide assistance to those that reached out. Ms. Rivera expects that once

Mr. Torres-Pagan is released, they can work together in one of the multiple sales ventures

(Avon/solar power equipment) that she also works withs. Ms. Rivera also expressed that Mr.

Torres-Pagan has expressed interest in receiving an education in HVAC maintenance, and his

desire to be designated in an institution in Florida.

       Mr. Torres-Pagán requests that the Court revokes 12 months and 1 day of his term of

supervised release, which is at the low-end of the applicable sentencing guidelines. This is due to

the fact that this is his first revocation proceeding, and more important, it will serve as an

appropriate punishment and deterrent. Mr. Torres-Pagán requests that this Court imposes this
term concurrently to the term imposed on 18-432 (ADC), an option for which it has sound

discretion to impose a revocation term concurrently. US v. Crudup, 375 F.3d (1st Cir. 2004). The

request of a term of concurrency is based on the evidence that concludes that although

incarceration serves one of the goals of sentencing, (e.i. - punishment), it is not an efficient

mechanism to deter recidivism. 1 One study recognizes that cognitive behavior therapy is a much

more productive way to address the attitude of an individual towards criminality, and reduce

recidivism rates.2

         Because there are better ways to address the underlying issues that lead to criminal

behaviors, the Court can ensure that Mr. Torres Pagan participates in less restrictive alternatives

that are not only more effetive, but more economical. This concurrency will save the

government at least $35,000, which is the estimated cost of maintaining a person incarcerated for

one year.

     WHEREFORE, Mr. Torres-Pagán respectfully requests that this Court take note of the

current sentencing memorandum and revokes 12 months and one day of the term of supervised

release to be served concurrently with the imprisonment term imposed on case number 18-432

(PAD).

         RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico, this 19th day of July 2021.




1Harding, D.J., Morenoff, J.D., Nguyen, A.P. et al. A natural experiment study of the effects of imprisonment on
violence in the community. Nat Hum Behav 3, 671–677 (2019)., and Daniel S. Nagin, Francis T. Cullen, and Cheryl
Lero Jonson, Imprisonment and Reoffending. Crime and Justice, Vol. 38 (2009)



2A Better Path Forward for Criminal Justice, Brookins Institute, available at: https://www.brookings.edu/wp-
content/uploads/2021/04/Better-Path-Forward_Brookings-AEI-report.pdf
       I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

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